                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

   TANJA BENTON,                                    )
                                                    )
           Plaintiff,                               )
                                                    )         Case No. 1:22-cv-118
   v.                                               )
                                                    )         Judge Atchley
   BLUECROSS BLUESHIELD OF                          )
   TENNESSEE, INC.,                                 )         Magistrate Judge Lee
                                                    )
           Defendant.                               )


                                        JUDGMENT ORDER

         This action came before the Court for a trial by jury. The issues have been tried, and the

  jury has rendered its verdict.

         The jury found that Plaintiff, TANJA BENTON, proved by a preponderance of the

  evidence that her refusal to receive the Covid vaccination was based upon a sincerely held religious

  belief. The parties stipulated that the remaining elements of Plaintiff’s claims were met and the

  jury was so instructed. The jury further found that Defendant, BLUECROSS BLUESHIELD OF

  TENNESSEE, INC., did not prove by a preponderance of the evidence either that it had offered a

  reasonable accommodation to Plaintiff or that it could not reasonably accommodate the Plaintiff’s

  religious beliefs without undue hardship. Liability for Plaintiff’s religious accommodation claims

  is therefore established by the jury’s verdict.

         Finally, the jury found that Plaintiff proved her entitlement to punitive damages by a

  preponderance of the evidence. By separate verdict, the jury awarded punitive damages. The jury

  awarded total damages to Plaintiff in the amount of $687,240.00, comprised of $177,240.00 in

  back pay damages, $10,000.00 in compensatory damages, and, by separate verdict, $500,000.00




Case 1:22-cv-00118-CEA-SKL Document 94 Filed 06/28/24 Page 1 of 2 PageID #: 2399
  in punitive damages.

         Accordingly, judgment is entered in favor of Plaintiff TANJA BENTON and against

  Defendant BLUECROSS BLUESHIELD OF TENNESSEE, INC. in the amount of $687,240.00

  with post-judgment interest at the rate set by 28 U.S.C. § 1961.



         SO ORDERED.
                                               /s/Charles E. Atchley, Jr.
                                               CHARLES E. ATCHLEY JR.
                                               UNITED STATES DISTRICT JUDGE


  ENTERED AS A JUDGMENT
  /s/ LeAnna Wilson
  LeAnna Wilson
  CLERK OF COURT




                                     2
Case 1:22-cv-00118-CEA-SKL Document 94 Filed 06/28/24 Page 2 of 2 PageID #: 2400
